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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

ROGER DEAN GILLISPIE, : CASE NO, 3:13-CV-416
Plaintiff, : Judge Thomas Rose
v. : DEFENDANT MIAMI TOWNSHIP’S
FIRST SET OF
CITY OF MIAMI TOWNSHIP, etal, : INTERROGATORIES AND
REQUEST FOR PRODUCTION OF
Defendants. : DOCUMENTS TO PLAINTIFF

 

Now comes Defendant Miami Township, by and through counsel, and hereby
demands that Plaintiff Roger Dean Gillispie answer the attached Interrogatories and
Request for Production of Documents in accordance with Rules 33 and 34 of the
Federal Rules of Civil Procedure. Said Interrogatories shall be answered in writing and
under oath within thirty (30) days after service and shall be of a continuing nature and
supplemented as necessary. All answers shall be provided on the basis of personal
knowledge or on the basis of constructive knowledge as this may be imputed to you
from any agent or attorney. Defendant Miami Township also hereby requests that
Plaintiff Gillispie produce the requested documents for inspection and copying at the
law offices of Surdyk, Dowd & Turner Co., L.P.A., 8163 Old Yankee Street, Suite C,
Dayton, Ohio 45458. Said documents shall be produced thirty (30) days from the date
of this request.

DEFINITIONS AND INSTRUCTIONS
l. The terms “you,” “your,” “Plaintiff,” “Plaintiff Gillispie” or “Gillispie” shall
mean and refer to Plaintiff Roger Dean Gillispie and/or all persons, agents, and

representatives acting or purporting to act on his behalf for any purpose whatsoever.

 

 

 

 
 

 

2. The term “Miami Township” or the “Township” shall mean and refer to
Defendant Miami Township.

8: The term “Complaint” shall mean and refer to the Amended Complaint filed by
Plaintiff in the United States District Court for the Southern District of Ohio, Western
Division, captioned Roger Dean Gillispie v. The City of Miami Township, et al. Case
No. 3:13-CV-00416.

4, “Document” shall mean each and every document as defined in Federal Rule of
Civil Procedure 34 in your possession, custody or control, however and by whomever
prepared, produced, reproduced, disseminated or made, in any form (including without
limitation electronically or magnetically stored data), wherever located, whether a
copy, draft or original, including, but not limited to the following: letters, minutes,
correspondence, notes or summaries of conversations, memoranda, agreements, desk
calendars, appointment books, diaries, books, manuals, bulletins, circulars, catalogs,
charts, electronic mail or e-mail transcripts, text messages, reports, studies, evaluations,
analyses, graphs, notices, notes, notebooks, journals, statistical records, maps,
laboratory results, medical records, radiology studies, glass slides, sketches, data
sheets, data compilations, computer data sheets, photographs, movie film, videotapes,
sound recordings, microphone, microfiche and any other written, printed, typed,
recorded or graphic matter from which information can be obtained or can be translated
through detection devices in a reasonably useful form.

5, The term “person” is defined as any natural person or any business, legal or

governmental entity or association.

 

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6. The term “concerning” means relating to, referring to, describing, evidencing or

constituting.

ie “Address” shall mean street number and street name, office or suite number,
city or town, state and zip code.

8. The word “communication” means each and every disclosure, transfer or
exchange of information (in the form of facts, ideas, or otherwise), whether oral or in
writing, and whether in person, by telephone, by regular or electronic mail, text
message, any other electronic communication or otherwise.

9. The words “relating to” mean constituting or evidencing and directly or
indirectly mentioning, describing, referring to, pertaining to, being connected with or
reflecting upon the stated subject matter,

10. To “identify” a document means to state the type of document (e.g., letter,
memo, notes, etc.), the date of the document, its author or originator, its addressee,
those persons to whom copies were sent, a description of the subject matter of the
document, and the identity of its custodian or present location. Please give this
information in sufficient detail to enable a request for production or subpoena to
sufficiently identify the documents sought. Instead of identifying the document in the
manner set forth above, you may attach to your answers copies of the documents for
which identification is sought, and specify the particular interrogatory to which the
document is responsive.

ll. To “identify” a person means to state the person’s full name and present or last

known home and business address and telephone numbers, the person’s present or last

 

 
 

 

known employer and position, and the nature and dates of any past or present

affiliation between the person and any party to this lawsuit.

12. ‘In answering these discovery requests, you must disclose information which is
in your possession, custody or contro] or within the possession, custody or control of
your attorneys, agents, experts, investigators, or other representatives of you or your
legal counsel. If you are able to answer part but not all of a discovery request, you
must nevertheless answer to the maximum extent possible. If you are unable to answer
any discovery request because you lack sufficient information, you must describe what
information you cannot provide and state what efforts you have made to obtain the
unknown information. Further, if any part of any answer is based on information or
belief, you must identify the source of your information or the basis for your belief.

13. If you refuse to answer a discovery request on the grounds of privilege or work
product, in a privilege log, describe the basis of the claim fully and in detail so that
Defendant may make an informed judgment about whether to move to compel the
answer.

14. Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, you are under a
continuing duty to seasonably supplement all discovery responses. In addition, if you
later discover or obtain additional information that is responsive to any interrogatory or
request to produce, you must submit supplemental answers disclosing that information

as promptly and as long before the trial date as possible.

 

 
 

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INTERROGATORIES

What is your full name, address, date of birth, and Social Security number?

ANSWER: Plaintiff objects to this request to the extent it seeks confidential and

protected information before the entry of a protective order. Subject to and
without waiving that objection, Plaintiff states his name is Roger Dean
Gillispie, he was born on 4/10/1965; that he lives in Fairborn, Ohio area; and

that he may be contacted through counsel.

2 Are you presently or have you ever been enrolled in Medicare Part A or B?
ANSWER: No.
3. What person or persons have any knowledge or information about any of the

allegations or any of the facts underlying any of the allegations set forth in the
Complaint? Include the last known address and telephone number of each
person.

ANSWER: Please see Plaintiff's Rule 26(a) disclosures and witness list. Plaintiff

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reserves the right to supplement this list as discovery proceeds.

What is the name and address of any other person you expect, hope or
anticipate calling as a lay witness on your behalf at the trial of this case, and
what is the subject on which each person is expected to testify?

ANSWER: Plaintiff objects to this request as overbroad, vague, and to the extent it

intrudes on the attorney-client privilege, and will further depend upon the
rulings of the Court. Without waiving and subject to those objections, see
Plaintiff's Rule 26(a) disclosures and witness list.

What is the name and address and area of expertise of each person you expect,

hope or anticipate calling as an expert witness at the trial of this case, and what
is the subject on which each such expert is expected to testify?

ANSWER: Plaintiff objects to this request as premature. Plaintiff will disclose his

 

 
 

experts in accordance with the schedule set for by the Court and under Rule 26.

What is the name, office address and specialty, if any, of each hospital,
physician, or practitioner of any healing art, including but not limited to any
psychologist, psychiatrist, counselor, or social worker, who has seen or treated
you for any physical or mental complaint or condition, including but not limited
to serious emotional distress, which you claim to be related in any way to the
incidents which you describe in your Amended Complaint?

ANSWER: Plaintiff objects to this request as overbroad and presenting an undue

 

burden, including but not limited to the phrase “related in any way” and due to
the fact that it includes no temporal! limitation. Subject to and without waiving
these objections, Plaintiff states that, while at the Montgomery County Jail he
suffered a tooth injury, and thereafter saw a number of dental professionals the
names of which he does not recall. In further answering, Plaintiff states that
after falling and injuring his back, he saw a medical professional at Warren
Correctional Institution during his wrongful incarceration, but Plaintiff does not
know the name of that person. Plaintiff also saw a foot doctor during his
incarceration, but does not recall the name of this person. After his release,
Plaintiff saw Dr. Jacob Dean, 7774 Dayton Springfield Rd. Suite B, Fairborn,
OH 45324, (937) 864-7363, then saw John Accrocco, at Tuttle Rehab, 7590
Dayton Springfield Rd., Fairborn, OH 45505 (937) 340-6261, and later saw Dr.
Hugh Moncrief, 30 E Apple St #5254, Dayton, OH 45409, a neurosurgeon in
Dayton, Ohio, who performed a surgery on Plaintiff's back. Plaintiff reserves
the right to supplement this response as discovery proceeds and as further
documents are reviewed for their responsiveness to this request.

What is the name, office address and specialty, if any, of each hospital,

physician, or practitioner of any healing art, including but not limited to any
psychologist, psychiatrist, counselor, or social worker, who has seen or treated

 

 
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you for any physical or mental complaint or condition, including but not limited
to serious emotional distress, within the past five (5) years?

ANSWER: Plaintiff objects to this request as overbroad and intruding on the attorney-

psychotherapist privilege. Should Plaintiff disclose a retained expert concerning
emotional damages, Plaintiff will supplement this response.

With what employees, representatives, or agents, including but not limited to
former employees, representatives, or agents, of Miami Township have you
communicated [with] at any time concerning the matter surrounding the
incidents described in your Amended Complaint, including the date of each
communication and a description of the nature and content of that
communication?

ANSWER: Plaintiff object to this request based upon its overbreadth, to the extent it is

vague, and due to the fact that it is compound and, if counted separately, would
exceed the permitted number of interrogatories under the federal rules. Subject
to and without waving these objections, Plaintiff states that he spoke with the
officers who arrested him at his home, namely Defendants Moore and DiPietro.
In further answering, Plaintiff states that he spoke on the phone with Defendant
Moore after Moore had called his home. Plaintiff's most significant recollection
of this phone call was that Defendant Moore refused to tell Plaintiff why he
wanted to speak with him or what he wanted to talk about. Plaintiff does not
recall the specific date of this phone call. In further answering, Plaintiff states
that, within a few weeks before his arrest Defendant Moore sent an “Ordered
In” letter to Plaintiff, who then reported to the Miami Township police station.
There, Defendant Moore took a polaroid picture of Plaintiff, asked Plaintiff
questions about his whereabouts on particular days several years before the

meeting (w which Plaintiff now knows are the dates of the crimes, though he

 

 
 

 

did not know that at the time); Defendant Moore also asked Plaintiff other

questions about the vehicle he drove, and other questions about his
whereabouts. Plaintiff recalls frequently asking Defendant Moore why he was
being interviewed and what it was al! about. In further answering, Plaintiff
states that, during this conversation Defendant Moore refused to tell him why
he wanted to speak with him and what it was all about. Plaintiff reserves the
right to supplement this request as discovery continues.

List all addresses where you have resided during the last five years including

the city, township or village of such address, county of each address, and the
dates you resided at each address.

ANSWER: Plaintiff objects to this request on the basis that it exceeds the bounds of

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permissible discovery under Rule 26; that it is not relevant or likely to lead to
the discovery of discoverable evidence; and to the extent it presents an undue
burden. Subject to and without waiving those requests, Plaintiff states that in

the last five years he has resided at his parent’s home in the Fairborn, Ohio.

Please specifically identify all damages and injuries which you have allegedly
suffered as a result of the incidents described in your Complaint, including but
not limited to any attorney’s fees incurred to date.

ANSWER: Plaintiff objects to this request to the extent that it is overbroad and could

be reasonably interpreted to require Plaintiff to describe every single day of his
wrongful arrest, prosecution, conviction, and incarceration, and time since
being released over the course of more than two decades, and continuing to this
day. Subject to these objections and without waiving the objections, Plaintiff
states that he has suffered the tremendous harm of being wrongfully convicted

and being deprived of his freedom and liberty while incarcerated for from

 

 
 

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February 12, 1991, to December 22, 2011, for more than 9,000 days over the

course of more than 20 years for a crime he did not commit. Plaintiffs time in
prison was also made worse due to the type of crimes—sexual assaults—for
which he was wrongfully convicted. Plaintiff further states that his damages
include: being deprived of his young adult life; the pain of not being able to
spend time with friends and family; damages related to not being able to pursue
his life goals, both professionally and personally; physical pain and suffering,
including severe back issues requiring surgery and dental issues that required
treatment; the obvious, unquantifiable emotional distress that could be expected
from being wrongfully convicted for two decades; and missing the
opportunities normally afforded to free individuals. In addition, and further
answering, Plaintiff has suffered harm since his release, including even after the
charges against him were finally dismissed and until this day. In further
answering, Plaintiff states that he suffered dignitary, personal, and emotional
harms from being labeled as a sex offender and being on sex offender registries
after his release. Plaintiff reserves the right to supplement this request as
discovery continues.

Did any person, firm, corporation or other entity pay on your behalf any of the

expenses which you incurred as a result of the incidents described in your
Complaint, including but not limited to any attorney’s fees?

ANSWER: Plaintiff objects to this request as vague, confusing, and overbroad.

Subject to and without waiving these objections, Plaintiff states that, yes, his
parents, Juana and Roger Gillispie, Plaintiff's parents, and Jody Repie

(formerly Gillispie), Plaintiff's sister paid on behalf of Plaintiff for legal

 

 
 

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expenses, including DNA testing and other forensic testing. Plaintiff's brother

James Gillispie and his other sister, Zandra, also contributed money on behalf
of Plaintiff's expenses related to his wrongful prosecution and conviction.
Plaintiff does not personally know the dates of any particular payments, though
some may be reflected in certain documents. Plaintiff's family members can be
contacted via counsel.

In further answering, Plaintiff also believes that the University of
Cincinnati, Ohio Innocence Project, via Mark Godsey and those working under
his direction, in the course of the OIP’s representation of Plaintiff over more
than 14 years, incurred substantial costs and expenses in exonerating Plaintiff.

Plaintiff’s friends and friends of his family—including but not limited
Richie Winters, Jim Osborn, Brian Poulter, Charley Tallent, John Coppock,
Bobby Fookes, Rob Price, Andrea McAdams, Chuck Taylor, Jimmy Baker,
Chuck Schramel, Roger Lambalot, Gil Luers, Jerry Fyffe, John Montgomery,
Nick Bowling, Scott Bowling, Bob Mittion, and Charlene Mittion—also
donated money to Plaintiff's family or to him directly to provide him with some
limited funds for commissary or his legal defense during his wrongful arrest,
conviction, incarceration, and prosecution. Plaintiff is unable to identify
specific dates of specific payments, and these witnesses may be contacted
through Plaintiff's counsel. Plaintiff reserves the right to supplement this
request as discovery and investigation continues. |

If your answer to the foregoing interrogatory is in the affirmative, please
answer the following:

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(a) What is the name and address of each such person, firm, corporation or
entity which paid said expenses?
ANSWER: See Plaintiff's Answer to Interrogatory No. 11, which is incorporated by
reference.
(b) What specific expenses were paid by each such person, firm,
corporation or entity?

ANSWER: See Plaintiff's Answer to Interrogatory No. 11, which is incorporated by
reference

 

| (c) On what dates were said payments made?
ANSWER: See Plaintiff's Answer to Interrogatory No. 11, which is incorporated by

| reference

| (d) Has any person, firm, corporation, partnership or other entity become

| subrogated to any claim which you may have by virtue of any payments which
it made on your behalf?

ANSWER: Plaintiff objects to this request as irrelevant, not likely to lead to the
discovery of relevant evidence, and on the basis of privilege. Plaintiff further
objects to this interrogatory as a distinct subpart that is actually an independent
request, and, if treated separately, exceed the number of requests under Rule 33.

13. Do you or anyone else acting in your behalf, have in your, his, her and/or their
possession or contro] any statement made by any person, either oral or written,
which is related to the incidents which are the subject of your Complaint? If so,
what are the verbatim contents of each such statement or, in the alternative,
attach a copy thereof in lieu of your response to this question.

ANSWER: Plaintiff objects to this request on the basis that it is vague and confusing
and, to the extent Plaintiff understands what’s being asked, includes matters
that are subject to the attorney-client and/or work product privileges. Subject to
and without waiving those objections, Plaintiff states that he believes all such

non-privileged statements are being, or have been, produced with Plaintiff's

document production. In further answering, Plaintiff states that his mother may

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have spoken with additional individuals and obtain statements, but he is not

personally aware of every such statement and whether, or to what extent, each
of those are or are not reflected in the document production.

Describe the “other investigative steps” taken by Detective Bailey and Sergeant
Fritz, as described in Paragraph 39 of your Amended Complaint.

ANSWER: Plaintiff objects to this interrogatory to the extent it is vague and to the

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extent it intrudes on the attorney-client and/or work product privileges, and to
the extent that Plaintiff is not in full knowledge of every single step Detective
Bailey and Sergeant Fritz took relative to their investigation, which cleared him
of the crimes. Plaintiff further objects because these witnesses, and the
witnesses whom Plaintiff contends reviewed and destroyed the
contemporaneous reporting of these “investigative” steps have not been
deposed and discovery has just began, and to the extent this request, therefore,
presents and undue burden. Subject to and without waiving these objections,
Plaintiff states that some of these steps are described in the affidavits and
testimony of Detective Bailey and Sergeant Fritz during the federal habeas
corpus proceedings. Plaintiff reserves the right to supplement this request as
investigation and discovery continues.

Identify and list the other “tips” or potential suspects considered by Detective
Bailey as described in Paragraph 41 of your Amended Complaint.

ANSWER: See Plaintiffs Answer to Interrogatory No. 14.

16.

Identify with specificity the date upon which you learned of the supplemental
reports allegedly authored by Bailey and approved by Fritz, which included
exculpatory evidence, as described in Paragraph 49 of your Amended
Complaint.

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ANSWER: Plaintiff objects to the extent this request to the extent that it is vague and
confusing (e.g., how does one state a “date” “with specificity”?). Plaintiff futher
objects to this request on the basis of attorney-client privilege. Subject to and
without waving the objection, Plaintiff's position is that the parties should
confer about this request, in light of the privilege issues it raises.

17. Describe from whom and the manner in which you learned of the supplemental
reports allegedly authored by Bailey and approved by Fritz, which included
exculpatory evidence, as described in Paragraph 49 of your Amended
Complaint.

ANSWER: See Plaintiff’s response to Interrogatory No. 16.

18. Identify all of the facts upon which you base the allegation that the alleged
supplemental reports were “later destroyed” in order to prevent you from using
them in your defense as alleged in Paragraphs 50 and 51 and 64 of the
Amended Complaint.

ANSWER: Plaintiff objects to this request on the basis that discovery has just begun
and that the request presents an undue burden to Plaintiff as this information is
held by others; e.g., Miami Township, and the Individually-Named defendants
from Miami Township; and to the extent that this request invokes information
subject to the attorney-client and/or work product privileges. Subject to and
without waiving these objections, Plaintiff directs to and incorporates the
federal habeas corpus proceedings, the rulings of the federal court in finding
that the supplementary reports had not been produced to Plaintiff, the
concession by the State of Ohio in further litigation before Judge Dankof that

they could not and were not able to produce the supplementary reports; the

investigative files in the possession of Miami Township, including but not

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limited Defendant Moore’s reports that purport to continue from previous
supplements. In further answering, and to be clear, Plaintiff states that the
existing reports produced by Miami Township also support his contention that
the supplemental reports were suppressed and destroyed. Plaintiff reserves the
right to supplement this request as discovery and investigation continues.

19. — Identifly any and all witnesses you intend to call to support your allegations that
the alleged supplemental reports were destroyed.

ANSWER: Plaintiff objects to this request as premature, and reserves the right to
supplement this request as appropriate and in light of the discovery demands
and investigation of this case, including expert discovery as well. Subject to and
without waiving the objection, see Plaintiff's Rule 26(a) disclosures and
witness list.

20. Identify with specificity any facts upon which you base the allegation that
camping receipts relevant to your alibi were obtained by Miami Township
Officers and destroyed as alleged in Paragraph 60 of your Amended Complaint.

ANSWER: Plaintiff objects to this request on the basis that discovery has just begun
and that the request presents an undue burden to Plaintiff as this information is
held by others; e.g., Miami Township, and the Individually-Named defendants
from Miami Township; and to the extent that this request invokes information
subject to the attorney-client and/or work product privileges, Subject to and
without waiving these objections, Plaintiff states that Defendant Moore’s
reports concerning this issue, which Plaintiff contends include lies and
deliberate fabrications supports this contention. In further answering, Plaintiff
states that portions of the testimony at trial as well as the anticipated testimony

of a number of witnesses, including but not limited to Brian Poulter, Jerry Fife,

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Nick Bowling, Warren Hensley, Chuck Taylor as well as other individuals who

may be disclosed in discovery are expected to support this allegation.

Identify any and all witnesses you intend to call to support your allegations that
the alleged camping receipts were obtained and then were destroyed.

ANSWER: See Plaintiff's Request to Interrogatory No. 20, which is incorporated by

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reference.

Identify with specificity any other instance in which you allege the Township
Police Department, the Chief of Police or other high-ranking Department
officers engaged in “rigging criminal prosecutions” against persons whom they
and/or “friends of the Department” had a problem with, including but not
limited the identifying the suspect, the crime, the involved officers and “friends
of the Department.”

ANSWER: Plaintiff objects to this request as premature, given that discovery has just

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began and no witnesses have been deposed, and to the extent that Miami
Township, and the individually-named defendants from Miami Township are in
a better position to answer this question. Subject to and without waiving these
objections, see documents produced and bates stamped as Gillispie 30764-
30821. Plaintiff reserves the right to supplement this request as discovery and
investigation continue.

Describe with specificity any “warning” the Township, Police Department,
Chief of Police or other Department officer received regarding the alleged
“rigging” of criminal prosecutions as alleged in Paragraph 74 of your Amended

Complaint, including but not limited to the date of the “warning,” the substance

of the “warning,” who gave the “warning” and to whom was the “warning”
given.

ANSWER: Plaintiff objects to this request as vague, overbroad, and possibly calling

for legal conclusions and attorney-client and work-product privileges. To the

extent Plaintiff's counsel understands the request, or one possible interpretation

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of this request, Plaintiff can foresee answering this, but, as presently stated,
Plaintiff is unable to provide a clear answer to this vague and ambiguous
request.

24. Identify any individuals with whom you have spoken regarding the
supplemental report that you allege was written and then signed by Detective
Baily and Sergeant Fritz.

ANSWER: Plaintiff objects to this request on the basis of the attorney-client privilege,
and to the extent it is overbroad and vague. Subject to and without waiving
these objections, Plaintiff states, outside of conversations with his attorneys,
that he has spoken with his parents about the withheld supplemental reports,
and that he has generally spoken about the “pant size” issue raised in those
reports from time to time during speaking engagements. In further answering,
Plaintiff states that some of his friends have probably heard him speak about the
“pant size” issue, but that Plaintiff cannot recall sitting down and speaking with

any of those individuals about the reports specifically.

RESPECTFULLY SUBMITTED,

Dean Gillispie

BY:_/s/David B. Owens
One of Plaintiff's Attorneys

 

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CERTIFICATE OF SERVICE

I, David B. Owens, an attorney, certify that I caused the foregoing ‘to
be served electronically on all counsel of record on June 15, 2018, hard
copies to follow via U.S.P.S.

s/ David B. Owens

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